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rev.) Sheet l - Judgment in a Criminal Case

   

UNITED sTATEs DIsTRICT cOURT F"-‘-’° BY/-~~Z*_f D-C-
Western District of Tennessee DSAUB m AHH_ |9
mel-ss ‘;
UNlTED STATES OF AMERICA ul
Piaintiff, CLE§{;L;Q" "

VS. Case Number 2:99CR20008-Ol-Ml

JEFFREY HOUSTON
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Jeffrey Houston, was represented by Samuel Perkins, Esq.

lt appearing that the defendantr who was convicted on July 13, 2001 in the above
styled cause and was placed on Supervised Release for a period of five (5) years, has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of eight (B) months.

FURTHERMORE, the Court hereby imposes an additional period of thirty (30) months
of Supervised Release with same previously imposed conditions to be supervised

consecutively to his previous period of Supervised Release.

The defendant shall surrender for service of sentence at the institution
designated by the Bureau of Prisons as notified by the United States Marshal.

Signed this the (€ day of August, 2005.

MQM`U

JO PHIPPS MCCALLA
lTED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compiiance
Defendant's SS No.: 431-57»7027 WHhRme553ndmr32w)FHCWcm ’ /“
Defendant's Date of Birth: 07/04/1977
U.S. Marshal No.: 16680-076
Defendant's Mailinq Address: 602 Johnson Drive, West Memphis, AR 72301

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This notice confirms a copy of the document docketed as number 76 in
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Samuel L. Perkins

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Honorable J on McCalla
US DISTRICT COURT

